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 8                   IN THE UNITED STATES DISTRICT COURT
 9                FOR THE CENTRAL DISTRICT OF CALIFORNIA
10   KELI PARKER                           ) Case No.
                                           ) 8:17-CV-00667-JLS (DFMx)
11                  Plaintiff,             )
                                           )
12         v.                              )
13   PETERS & FREEDMAN, LLP; AND           ) ORDER
     DISCOVERY AT CORTEZ HILL              )
14   HOMEOWNERS ASSOCIATION,               )
                                           )
15                  Defendants.            )
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 1         This matter is before the Court on the Stipulation of Dismissal filed by
 2   Plaintiff Keli Parker and Defendant Discovery at Cortez Hill Homeowners
 3   Association (“the Stipulating Parties”). (Doc. 40.)
 4         The Stipulating Parties seek dismissal pursuant to Federal Rule of Civil
 5   Procedure 41(a)(1)(A)(ii). Dismissal pursuant to that rule requires “a stipulation of
 6   dismissal signed by all parties who have appeared.” Id. (emphasis added) Because
 7   Defendant Peters & Freedman, LLP has appeared in this action, but has not joined
 8   in the Stipulation, dismissal pursuant to Rule 41(a)(1)(A)(ii) is not appropriate.
 9         However, because Defendant Discovery at Cortez Hill Homeowners
10   Association has not answered or filed a motion for summary judgment, dismissal is
11   appropriate on Plaintiff’s notice thereof. See Fed. R. Civ. P. 41(a)(1)(A)(i).
12   Therefore, the Court construes the Stipulating Parties’ filing as a Notice of
13   Dismissal and ORDERS that all claims against Defendant Discovery at Cortez Hill
14   Homeowners Association are dismissed with prejudice. The Stipulating Parties
15   shall each bear their own costs and attorneys’ fees.
16         IT IS SO ORDERED.
17         Date: October 02, 2017
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19                                                          Honorable Josephine L. Staton
                                                            United States District Judge
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